Case 8:16-bk-15157-CB       Doc 208 Filed 03/16/18 Entered 03/16/18 08:27:42             Desc
                             Main Document    Page 1 of 12


  1   Marc C. Forsythe - State Bar No. 153854
      Charity J. Miller – State Bar No. 286481
  2   GOE & FORSYTHE, LLP
      18101 Von Karman Avenue, Suite 1200
  3   Irvine, CA 92612
      mforsythe@goeforlaw.com
  4   cmiller@goeforlaw.com
      Telephone: (949) 798-2460
  5   Facsimile: (949) 955-9437
  6   Attorneys for Mt Yohai, LLC
      Debtor and Debtor in Possession
  7
  8
                                UNITED STATES BANKRUPTCY COURT
  9
                                 CENTRAL DISTRICT OF CALIFORNIA
 10
                                          SANTA ANA DIVISION
 11
 12
      In re:                                              Case No. 8:16-bk-15157-CB
 13
      MT YOHAI, LLC, a Delaware limited liability
 14   company                                             Chapter 11 Proceeding

 15                                                       UPDATED CHAPTER 11 STATUS
                      Debtor and Debtor in                CONFERENCE REPORT
 16                   Possession.
 17                                                       Hearing Date: March 20, 2017
                                                          Time:         10:00 a.m.
 18                                                       Courtroom: 5D
 19
               TO THE HONORABLE CATHERINE BAUER, UNITED STATES BANKRUPTCY
 20
      JUDGE, ALL CREDITORS, INTERESTED PARTIES AND THE UNITED STATES
 21
      TRUSTEE:
 22
               Debtor and Debtor-in-possession Mt. Yohai, LLC, a Delaware limited liability company
 23
      (“Debtor”) hereby files this Chapter 11 Status Conference Report. Debtor filed its Chapter 11
 24
      proceeding on December 21, 2016.
 25
 26
 27
 28



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Case 8:16-bk-15157-CB       Doc 208 Filed 03/16/18 Entered 03/16/18 08:27:42                  Desc
                             Main Document    Page 2 of 12


  1   I.     STATUS OF CLOSING SALE OF PROPERTY.
  2            The sale of the real property located at 2521 Nottingham Avenue, Los Angeles, CA
  3   90027 (the “Property”) was approved by this Court by Order entered on January 19, 2018 (Docket
  4   # 194), which triggered the last day to close escrow as February 26, 2018.
  5          The sale did not close on February 26, 2018. Attached hereto as Exhibit “1” is the email
  6   from counsel to the buyer as to why the buyer cancelled the escrow.
  7          Debtor is currently close to obtaining financing to pay all creditors of the estate, and is
  8   negotiating with Bowery Design & Development to retain its lien against the Property in order to
  9   pay all other creditors and allow for the dismissal of this bankruptcy case.
 10
 11
      DATED: March 16, 2018                                 Respectfully submitted by,
 12
                                                            GOE & FORSYTHE, LLP
 13
 14                                                         By: /s/Marc C. Forsythe
 15                                                             Marc C. Forsythe
                                                                Attorneys for Mt Yohai, LLC
 16                                                             Debtor and Debtor in Possession

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Case 8:16-bk-15157-CB   Doc 208 Filed 03/16/18 Entered 03/16/18 08:27:42   Desc
                         Main Document    Page 3 of 12




                   EXHIBIT 1




                   EXHIBIT 1
        Case 8:16-bk-15157-CB           Doc 208 Filed 03/16/18 Entered 03/16/18 08:27:42                    Desc
                                         Main Document    Page 4 of 12
            yt

From:                             Scott Kron <scott@kronandcard.com>
Sent:                             Thursday, March 1, 2018 6:31 PM
To:                               Marc Forsythe
Cc:                               Richard Marshack; Jeffrey Dulberg
Subject:                          Re: 2521 Nottingham Ave Have we closed?
                                                            I




Marc:

The Purchase and Sale Agreement and Joint Escrow Instructions ("PSA") provides in relevant part:

"Section 2. (c) all of Seller's right, title and interest, if any, in and to all intangible property relating to the Real
Property or the Personal Property in the possession or control of Seller, including, without limitation, all
trademarks, trade names, licenses, permits, approvals, authorizations, and other entitlements, all guaranties and
warranties related to the Real Property and/or the Personal Property, and all studies, books, records, reports, test
results, environmental assessments, and other documents and materials related to the Real Property (the
"Intangible Property"); and (d) all other agreements and all other assignable permits regarding the Property,
including, without limitation, all plans, maps, permits, drawings, architectural rendering, designs and floor
plans, elevations, budgets, proformas, entitlements, and Bowery work product (the "Contracts"); including
without limitation tentative maps, final maps, building permits, ..."

"5.1. BY SELLER. On or prior to the Closing Date, Seller shall deliver or cause to be delivered to Escrow
Holder the following items:

(a)
A Grant, Bargain, Sale Deed ("Deed"), substantially in the form attached to this Agreement as Exhibit "B" an
d incorporated herein, duly executed and acknowledged by Seller and in recordable form, conveying the
Property to Buyer.

(b) A State of California Declaration of Documentary Transfer Tax showing the real property transfer tax due,
duly executed by Seller.

(c) A Transferor's Certificate of Non-Foreign Status, duly executed by Seller.

(d) An Assignment and Bill of Sale conveying title to the Personal Property, the Intangible Property and the
Contracts to Buyer, duly executed by Seller.

(e) Any other documents required by this Agreement to be delivered by Seller to Escrow Holder.



"6.1. CONDITIONS PRECEDENT TO BUYER'S OBLIGATIONS.

The following conditions must be satisfied not later than the Closing Date or such other period of time as may be
specified below and, as such, are conditions precedent to Buyer's obligations under Section 6.2:
       Case 8:16-bk-15157-CB                 Doc 208 Filed 03/16/18 Entered 03/16/18 08:27:42                                  Desc
                                              Main Document    Page 5 of 12



      (g) No material change to the Real Property shall have occurred after the date of this Agreement and prior
to the Close of Escrow without the prior written consent of Buyer.

        (h) Title Insurance as set forth in Section 9.4 is in fact issued.

The conditions set forth in this Section 6.1 are solely for the benefit of Buyer and may be waived only by Buyer. At all times Buyer has the
right to waive any such condition. Such waiver or waivers must be in

writing to Seller.



"13.1. DEFAULT BY SELLER.
       In the event the Closing and the consummation of the transactions contemplated by this Agreement do not occur by reason of any default
(which includes any material breach of the provisions of this Agreement) by Seller, Buyer will be entitled to pursue any or all of the followingv
remedies: (a) pursue an action for specific performance; or (b) pursue any other remedy available to Buyer at law or in equity."

"17.8 Time of Essence. Time is of the essence in the performance of the parties' respective obligations set forth
in this Agreement and all the terms, provisions, covenants and conditions hereof."

The Buyer is cancelling the Purchase and Sale Agreement on the following grounds:

(1) Time was         of the essence with the PSA. Default by Seller. On or prior to the Closing Date, the Seller did not
satisfy the conditions precedent to the Buyer's obligations (Section 5 Deliveries to Escrow Holder). Indeed, the
Seller didn't satisfy any condition precedent to Buyer's obligation on or prior to the Closing Date (Feb. 26,
2018).

"In the event the Closing and the consummation of the transaction contemplated by this Agreement do not occur
by reason of any default (which includes any material breach of the provisions of this Agreement) by Seller,
Buyer will be entitled to pursue any and all of the following remedies: (a) pursue an action for specific
performance; or (b) pursue any other remedy available to Buyer at law or in equity."

If contract for sale of land where time was made the essence of the contract, provision requiring vendor to
deliver recordable deed into escrow and provision requiring purchaser to deposit money, note and deed of trust
were concurrent conditions, and failure of parties to tender their performances by the date set for performance
discharged both parties. (Pittman v. Canham (1992) 2 Cal.App.4th 556; Ninety Nine Investments, Ltd.                                v.
Overseas Courier Service (Singapore) Private, Ltd. (2004) 113 Ca1.App.4th 1118.)

(2) Material change to the Real Property occurred after the date of the PSA and prior to the Close of Escrow
without the prior written consent of Buyer. On February 26, 2018, Los Angeles City Department of Building &
Safety denied the Seller's Haul Route permit at an open hearing where over 20+ neighbors appeared to object to
the issuance of the haul route, citing, amongst other reasons, the seller's history with the project and
neighborhood, Paul Manafort's involvement with the property, the inability to demonstrate that there is a new
owner (specifically the "Buyer" since the escrow did not happen on time) that is different from the previous
owner ("Mt Yohai"), and general distrust with the project overall and its participants as the underlying reasons
to deny the permit. This approval is a by right approval, and Consequently, no soil maybe excavated and hauled
away from the property, rending the property virtually incapable of being built upon at this time.



                                                                       2
        Case 8:16-bk-15157-CB Doc 208 Filed 03/16/18 Entered 03/16/18 08:27:42 Desc
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(3) Prior to the Close of Escrow, Seller's     Document
                                           principal            PageYohai,
                                                     officer, Jeffrey 6 of 12
                                                                            advised the Buyer of the threatened
seizure of the property by the Federal Government and forfeiture thereof. In conferring with title insurance, the
policy does not cover seizure and forfeiture of the property by the Federal Government if any of the parties have
any knowledge of such action or possibility thereof.

Please instruct Pickford Escrow to cancel the escrow and refund the Buyer's money.

Should you have any questions, or wish to discuss this matter further, please don't hesitate to contact me and
Richard Marshack.



Sincerely,

Scott A. Kron, Esq.
KRON & CARD LLP
29222 Rancho Viejo Road, Suite 114
San Juan Capistrano, CA 92675
Telephone: 949 367-0520
Facsimile: 949 613-8472
www.kronandcard.com


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On Thu, Mar 1, 2018 at 6:27 AM, Marc Forsythe <mfors v the @g oeforlaw.com> wrote:
 Scott,

 Iwas advised by escrow yesterday (see email below) and Mr. Marshack that the buyer has cancelled escrow intends to
 back out of the purchase the property.

 Please provide me the reasons for such cancellation.


 Please excuse any typos
 Sent from my iPad
     949 798-2460(o): 949 283-1504(c)

 Begin forwarded message:

           From: Theresa Carlini <tcarlini @a ickfordescrow.com>
           Date: February 28, 2018 at 4:10:30 PM PST
           To: Marc Forsythe <mfors Vthe @g oeforlaw.com>
           Subject: FW: 2521 Nottingham Ave I Have we closed?


           Please see email chain below. The buyer wants to cancel, please advise.
Case 8:16-bk-15157-CB          Doc 208 Filed 03/16/18 Entered 03/16/18 08:27:42                     Desc
                                Main Document    Page 7 of 12

 From: Scott Kron [ mailto:scott @ kronandcard.com]
 Sent: Wednesday, February 28, 2018 4:05 PM
 To: Theresa Carlini <tcarlini @a ickfordescrow.com>
 Cc: Amber De Lapp <adela pp@p ickfordescrow.com>; Richard Marshack
 <RMarshack P marshackha V s.com>
 Subject: Re: 2521 Nottingham Ave Have we closed?
                                     I




  Do you have signed escrow instructions from the Seller?




 Sincerely,

 Scott A. Kron, Esq.
 KRON & CARD LLP
 29222 Rancho Viejo Road, Suite 114
 San Juan Capistrano, CA 92675
 Telephone: 949 367-0520
 Facsimile: 949 613-8472
 www.kronandcard.com




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 and delete the e-mail from your records. Nothing in this e-mail message shall be interpreted as a digital
 or electronic signature to authenticate a contract or other legal document.




 On Wed, Feb 28, 2018 at 4:03 PM, Theresa Carlini <tcarlini @r) ickfordescrow.com> wrote:
Case 8:16-bk-15157-CB Doc 208 Filed 03/16/18 Entered 03/16/18 08:27:42 Desc
                         Main the
 Have you confirmed this with  Document       Page 8 of 12
                                   seller's attorney?    need to be instructed
                                                                      I



 mutually by both buyer and seller.

 Please discuss this with Marc and get back to me.




           At your service,

            Theresa Carlini
            Branch Manager/Escrow Officer for Irvine, Mission Viejo, Ladera Ranch

            Pickford Escrow Company, A HomeServices of America Company

 Office: 949.586.2700 Fax: 949.206.1259 TCarlini
                       I                    I            PickfordEscrow.com




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 the rise. In an effort to provide the highest level of protection possible, we will
 always enable security settings when sending wire instructions to you. It is in
 your best interest NOT to rely or act on wire instructions sent to you by any party
 other than us. In all instances, it is highly recommended that you call our office
 to verify our wire instructions prior to initiating a wire transfer.




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Case 8:16-bk-15157-CB         Doc 208 Filed 03/16/18 Entered 03/16/18 08:27:42                     Desc
                               Main Document    Page 9 of 12
                                                  a




  From: Scott Kron [mailto:scott kronandcard.com]
  Sent: Wednesday, February 28, 2018 3:38 PM
  To: Theresa Carlini <tcarlini ickfordescrow.com>
  Cc: Amber De Lapp <adela        ickfordescrow.com>; Richard Marshack
  <RMarshack marshackha s.com>
  Subject: Re: 2521 Nottingham Ave Have we closed?
                                      I




  Theresa:




  Sincerely,

  Scott A. Kron, Esq.
  KRON & CARD LLP
  29222 Rancho Viejo Road, Suite 114
  San Juan Capistrano, CA 92675
  Telephone: 949 367-0520
  Facsimile: 949 613-8472
  www.kronandcard.com




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       Case 8:16-bk-15157-CB          Doc 208 Filed 03/16/18 Entered 03/16/18 08:27:42                     Desc
                                       Main Document    Page 10 of 12




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Case 8:16-bk-15157-CB   Doc 208 Filed 03/16/18 Entered 03/16/18 08:27:42   Desc
                         Main Document    Page 11 of 12
Case 8:16-bk-15157-CB         Doc 208 Filed 03/16/18 Entered 03/16/18 08:27:42                      Desc
                               Main Document    Page 12 of 12


  1                             PROOF OF SERVICE OF DOCUMENT
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612
  3   A true and correct copy of the foregoing document entitled (specify): UPDATED CHAPTER 11 STATUS
      CONFERENCE REPORT will be served or was served (a) on the judge in chambers in the form and
  4   manner required by LBR 5005-2(d); and (b) in the manner stated below:
  5   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  6   hyperlink to the document. On (date) March 16, 2018, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
  7   List to receive NEF transmission at the email addresses stated below:

  8          Simon Aron saron@wrslawyers.com
             Jeffrey W Dulberg jdulberg@pszjlaw.com
  9          Marc C Forsythe kmurphy@goeforlaw.com, mforsythe@goeforlaw.com;goeforecf@gmail.com
             Richard Girgado rgirgado@counsel.lacounty.gov
 10          Chad V Haes chaes@marshackhays.com, ecfmarshackhays@gmail.com
             Michael J Hauser michael.hauser@usdoj.gov
 11          D Edward Hays ehays@marshackhays.com, ecfmarshackhays@gmail.com
             James Andrew Hinds jhinds@jhindslaw.com, mduran@jhindslaw.com
 12          Scott A Kron scott@kronandcard.com
             Marc Y Lazo mlazo@whbllp.com
 13
             Richard A Marshack rmarshack@marshackhays.com,
              lbergini@marshackhays.com;ecfmarshackhays@gmail.com
 14          Paul R Shankman pshankman@jhindslaw.com, mduran@jhindslaw.com
             Rachel M Sposato rsposato@jhindslaw.com, mduran@jhindslaw.com
 15
             United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
 16
      2. SERVED BY UNITED STATES MAIL:
 17   On (date) March 16, 2018, I served the following persons and/or entities at the last known addresses in this
      bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
 18   in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge here
      constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
 19   document is filed.

 20
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
 21   (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      (date) March 16, 2018, I served the following persons and/or entities by personal delivery, overnight mail
 22   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows: Listing the judge here constitutes a declaration that personal delivery on, or overnight
 23   mail to, the judge will be completed no later than 24 hours after the document is filed.

 24        The Honorable Catherine Bauer, USBC, 411 West Fourth Street, Santa Ana, CA 92701

 25
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 26
 27    March 16, 2018         Kerry A. Murphy                                /s/Kerry A. Murphy
       Date                    Printed Name                                  Signature
 28



                                                            3
